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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    NATIONAL VETERANS LEGAL
    SERVICES, et al.,

                        Plaintiffs,
                                                       Civil Action No. 16-745 (ESH)
                          v.

    UNITED STATES OF AMERICA

                       Defendant.


      DEFENDANT’S CONSENT MOTION TO CONTINUE MOTIONS HEARING

       Pursuant to Federal Rule of Civil Procedure 6(b), Defendant, by and through the

undersigned counsel, respectfully moves this Court to continue the Motions Hearing currently

scheduled for March 19, 2018 at 11:00 a.m. See Min. Order (Feb. 27, 2018). In accordance with

Local Civil Rule 7(m), the undersigned has conferred with Plaintiffs’ counsel, who stated that

Plaintiffs consent to the relief requested in this Motion.

       There is good cause to grant the relief requested in this Motion:

       1.       The Parties completed briefing their cross-motions for summary judgment on

January 5, 2018. On February 27, 2018, this Court scheduled a Motions Hearing for March 19,

2018, at 11:00 a.m. See Min. Order (Feb. 27, 2018).

       2.       Unfortunately, this Motions Hearing conflicts with long-scheduled international

travel on the part of AUSA Field, who will be presenting arguments on Defendant’s behalf.1




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 Specifically, AUSA Field will have just returned from an extended international trip late in the
evening of March 17 and the current schedule will significantly hinder his ability to prepare.
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       3.       The Parties have conferred and are available to participate in the Motions Hearing

on any of the following dates: April 19, May 2–3, 10–11, 14, 17, 21–25.2

       4.       Accordingly, Defendant respectfully requests that the Court continue the Motions

Hearing to a later date when the undersigned will be available to attend. There are no other pending

deadlines or court dates that this request for a continuance would affect.

March 1, 2018                                 Respectfully submitted,

                                              JESSIE K. LIU
                                              D.C. BAR #472845
                                              United States Attorney

                                              DANIEL F. VAN HORN
                                              D.C. BAR #924092
                                              Chief, Civil Division

                                      By:     /s/ Brian J. Field
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  These dates take into account several additional scheduling conflicts, including an upcoming jury
trial, medical procedure, travel, and depositions that cannot be rescheduled without substantial
prejudice to witnesses.
